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                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                    HARTFORD DIVISION



     In re:                                             Chapter 11

     THE NORWICH ROMAN CATHOLIC                         Case No: 21-20687 (JJT)
     DIOCESAN CORPORATION,1
                                                        RE: ECF No. 19
                            Debtor.


     FINAL ORDER GRANTING MOTION OF DEBTOR FOR ENTRY OF AN ORDER (I)
     APPROVING PROPOSED FORM OF ADEQUATE ASSURANCE OF PAYMENT TO
      UTILITY PROVIDERS; (II) ESTABLISHING PROCEDURES FOR DETERMINING
     ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE UTILITY SERVICES; (III)
         PROHIBITING UTILITY PROVIDERS FROM ALTERING, REFUSING, OR
                       DISCONTINUING UTILITY SERVICE;
                      AND (IV) GRANTING RELATED RELIEF

              This matter comes before the Court on the Debtor’s Motion For Entry Of An Order (I)

 Approving Proposed Form Of Adequate Assurance Of Payment To Utility Providers; (II)

 Establishing Procedures For Determining Adequate Assurance Of Payment For Future Utility

 Services; (III) Prohibiting Utility Providers From Altering, Refusing, Or Discontinuing Utility

 Service; and (IV) Granting Related Relief (the “Motion”),2 the First Day Declaration, and the

 statements of counsel and evidence adduced with respect to the Motion at an initial hearing held

 August 10, 2021 (the “Hearing”). The Hearing commenced on August 10, 2021, however,

 pursuant to statements made on the record, including the various concerns raised by both the

 United States Trustee and the Court as to the form of the order, the Court entered an order granting

 the Motion on an interim basis (the “Interim Order”) [Dkt. No. 128] and continuing the Hearing



 1
   The Debtor in this chapter 11 case is The Norwich Roman Catholic Diocesan Corporation, a/k/a The Roman Catholic
 Diocese of Norwich. The last four digits of the Debtor’s federal tax identification number are 7373.
 2
   Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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 to August 17, 2021 at 10:00 a.m. The Debtor, the United States Trustee, and the Official

 Committee of Unsecured Creditors consented to a continuance of the August 17 hearing, and on

 August 13, 2021, the Court entered an order further continuing the Hearing to September 9, 2021

 (the “Final Hearing”) [Dkt. No. 149]. On August 30, 2021, the Court entered a Second Interim

 Order on the Motion. On September 9, 2021, the Court conducted the Final Hearing on the Motion.

 For the reasons set forth on the record at the Final Hearing and herein, the Court finds that (i) it

 has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) venue is proper in this

 district pursuant to 28 U.S.C. §§ 1408 and 1409; (iii) this is a core proceeding pursuant to 28

 U.S.C. § 157(b); (iv) due and proper notice of the Motion was provided to the Notice Parties

 pursuant to Local Bankruptcy Rule 9013-2(b); (v) notice of the Motion and the Final Hearing was

 sufficient under the circumstances; and (vi) there is good cause to waive the 14-day stay imposed

 by Bankruptcy Rule 6004(h) to the extent it is applicable. After due consideration, the Court finds

 that the relief requested in the Motion is in the best interests of the Debtor, its estate, and its

 creditors and is necessary to prevent immediate and irreparable harm to the Debtor and its estate.

 Therefore, for good cause shown, IT IS HEREBY ORDERED:

        1.      The Motion is GRANTED on a final basis.

        2.      By agreement of the Debtor and the Norwich Department of Public Utilities

 (“NDPU”), and based upon the resolution represented to the Court, the objection to the Motion

 filed by NDPU on August 2, 2021 (ECF No. 104) is WITHDRAWN. In accordance with the

 agreement reached between the Debtor and NDPU, the Debtor is authorized to provide NDPU a

 deposit equal to one month’s average service charges, which monthly average service charges are

 approximately $6,000, and to pay prepetition sums due and owing to NDPU in an amount not to
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 exceed one month’s average service charges, which the parties agree shall constitute adequate

 assurance of payment under section 366 of the Bankruptcy Code.

         3.     The Debtor is authorized to pay all undisputed invoices for prepetition Utility

 Services provided by the Utility Providers to the Debtor up to the average monthly charge set forth

 on the Utility Service List attached as Exhibit 1 hereto, and on a timely basis and in accordance

 with its prepetition practices, and all undisputed invoices for postpetition Utility Services provided

 by the Utility Providers to the Debtor; and each Utility Provider is authorized to retain prepetition

 deposits, if any, made by the Debtor as a postpetition deposit (subject to the Adequate Assurance

 Procedures discussed below).

         4.     Except as otherwise provided in this Order, the Debtor’s Utility Providers are

 hereby prohibited from altering, refusing, or discontinuing service on account of the

 commencement of this chapter 11 case and/or any unpaid prepetition charges and are deemed to

 have received adequate assurance of payment in accordance with section 366 of the Bankruptcy

 Code.

         5.     The Court hereby approves the following Adequate Assurance Procedures:

                a. The Debtor will fax, e-mail, serve by overnight mail, or otherwise expeditiously
                   cause a copy of this Order, which includes the Adequate Assurance Procedures,
                   to be served on each Utility Provider within two business days after entry of
                   this Order.

                b. The Debtor will deposit in a segregated account (“Adequate Assurance
                   Account”) not subject to the liens of any creditor two weeks’ worth of estimated
                   utility costs for each Utility Provider based upon the average monthly charges
                   set forth on Exhibit 1 hereto (the “Adequate Assurance Deposit”) within 15
                   calendar days after entry of the Order; provided that to the extent any Utility
                   Provider receives or has received any other form of adequate assurance of
                   payment, the Debtor may reduce the Adequate Assurance Deposit maintained
                   in the Adequate Assurance Account on account of same for such Utility
                   Provider.
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            c. Any Utility Provider seeking modifications of this Order or additional
               assurance of payment in the form of deposits, prepayments or otherwise must
               serve a request for additional assurance (an “Additional Assurance Request”)
               so that it is actually received by the following parties (the “Adequate Assurance
               Notice Parties”) at the following addresses:

                    i. Ice Miller LLP, 1500 Broadway, 29th Floor, New York, NY 10036,
                       Attn: Louis DeLucia and Alyson Fiedler, louis.delucia@icemiller.com;
                       alyson.fiedler@icemiller.com;

                   ii. Robinson & Cole LLP, 280 Trumbull Street, Hartford, CT 06103, Attn:
                       Patrick M. Birney, pbirney@rc.com; and

                  iii. Zeisler & Zeisler, PC, 10 Middle St, 15th Fl, Bridgeport, CT 06604,
                       Attn: Eric Henzy and Stephen Kindseth, ehenzy@zeislaw.com;
                       skindseth@zeislaw.com;

            d. Any Additional Assurance Request must (i) be in writing, (ii) set forth the
               location for which utility services are provided, (iii) include a summary of the
               Debtor’s payment history relevant to the affected account(s), including the
               amounts of any security deposits, and (iv) set forth why the Utility Provider
               believes the Proposed Adequate Assurance is not sufficient adequate assurance
               of future payment.

            e. Until a Utility Provider serves on the Adequate Assurance Notice Parties an
               Additional Assurance Request, such Utility Provider shall be (i) deemed to have
               received adequate assurance of payment “satisfactory” to such Utility Provider
               in compliance with section 366 of the Bankruptcy Code, and (ii) prohibited
               from discontinuing, altering, or refusing service to, or discriminating against,
               the Debtor on account of the commencement of the Debtor’s chapter 11 case or
               any unpaid prepetition charges.

            f. Upon receipt of any Additional Assurance Request as provided herein, the
               Debtor shall have until the later of (i) 28 days after receipt of such Additional
               Assurance Request and (ii) 30 days after entry of this order, or such period as
               may be agreed to by the Debtor and the relevant Utility Provider, to negotiate
               with such Utility Provider to resolve its Additional Assurance Request.

            g. The Debtor may, without further order of the Court and with the consent of the
               Committee, which consent shall not be unreasonably withheld, resolve any
               Additional Assurance Request by mutual agreement with a Utility Provider, and
               may, in connection with any such agreement, provide a Utility Provider with
               additional adequate assurance of future payment, which may include, but shall
               not be limited to, cash deposits, payments of an outstanding prepetition balance
               due to the Utility Provider, prepayments or other forms of security, in each case,
               without further order of the Court.
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                h. If the Debtor is not able to reach a resolution with a Utility Provider that has
                   submitted an Adequate Assurance Request during the Resolution Period, the
                   Debtor, during or immediately after the Resolution Period, will request a
                   hearing before the Court to determine the adequacy of assurance of payment
                   with respect to the Utility Provider pursuant to section 366(c)(3) of the
                   Bankruptcy Code (a “Determination Hearing”).

                i. Pending resolution of such dispute at the Determination Hearing, the relevant
                   Utility Provider shall be prohibited from discontinuing, altering, or refusing
                   service to the Debtor on account of the commencement of this chapter 11 case,
                   any unpaid charges for prepetition services provided to any of the Debtor by
                   the Utility Provider, or any objections to the Proposed Adequate Assurance.

                j. Absent compliance with the procedures set forth in the Motion and the terms of
                   this Order, the Debtor’s Utility Providers are prohibited from altering, refusing,
                   or discontinuing service on account of the commencement of this chapter 11
                   case and/or any unpaid prepetition charges and are deemed to have received
                   adequate assurance of payment in compliance with section 366 of the
                   Bankruptcy Code.

        6.      The Debtor may file a motion to amend the Utility Service List to add or delete any

 Utility Provider, and this Order shall not apply to any Utility Provider that is subsequently added

 to the Utility Service List unless so ordered by the Court after notice and a hearing. Any such

 amended Utility Service List shall be attached to the motion filed with the Court.

        7.      For any Utility Provider that is subsequently added to the Utility Service List by

 Court Order, the Debtor shall deposit an Adequate Assurance Deposit into the Adequate Assurance

 Account for said added Utility Provider and, subject to the provisions of Paragraph 8, to the extent

 any such subsequently added entity wishes to make an Additional Assurance Request, it shall do

 so in accordance with the Adequate Assurance Procedures.

        8.      Any Utility Provider served with a motion to be added to the Utility Service List

 that objects to contents of this Order shall be required to, within any period of time directed by the

 Court, file and serve an objection in accordance with the Bankruptcy Rules and the Local

 Bankruptcy Rules,
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        9.      The inclusion of any entity in or the omission of any entity from the Utility Service

 List shall not be deemed an admission by the Debtor that such entity is or is not a “utility” within

 the meaning of section 366 of the Bankruptcy Code, and the Debtor reserves all rights and defenses

 with respect thereto.

        10.     The Debtor may terminate the services of any Utility Provider and is immediately

 authorized to withdraw from the Adequate Assurance Account the Adequate Assurance Deposit

 held on account of such terminated Utility Provider after final payment of the Utility Provider’s

 charges for post-petition service at the terminated location.

        11.     The Banks are authorized, when requested by the Debtor, to receive, process, honor

 and pay all checks presented for payment of and to honor all fund transfer requests made by the

 Debtor related to Utility Services, whether such checks were presented or fund transfer requests

 were submitted prior to or after the Petition Date, provided that sufficient funds are available in

 the applicable accounts to make the payments. The Banks are authorized to rely on the Debtor’s

 designation of any particular check or funds transfer as approved by this Order. Any Bank that

 honors a prepetition check or other item drawn on any account that is the subject of this Order: (a)

 at the direction of the Debtor; (b) in a good-faith belief that the Court has authorized such

 prepetition check or item to be honored; or (c) as a result of an innocent mistake made despite the

 above-described protective measures, shall not be liable to the Debtor or its estate on account of

 such prepetition check or other item being honored postpetition.

        12.     Nothing in the Motion or this Order, nor the Debtor’s payment of claims pursuant

 to this Order, shall be deemed or construed as: (a) an admission as to the validity of any claim

 against the Debtor; (b) a waiver of the Debtor’s rights or any other party-in-interests’ rights to

 dispute any claim on any grounds; (c) a promise to pay any claim; (d) an implication or admission
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 that any particular claim is of a type specified or defined hereunder; or (e) the assumption of any

 executory contract or unexpired lease.

        13.     The Debtor is hereby authorized to take such actions and to execute such documents

 as may be necessary to implement the relief granted by this Order.

        14.     The requirements of Bankruptcy Rule 6004(a) and (h) are waived; this Order shall

 be immediately effective and enforceable upon its entry.

        15.     The Court shall retain jurisdiction to hear and determine all matters arising from or

 related to the implementation, interpretation, or enforcement of this Order.



                            Dated at Hartford, Connecticut this 16th day of September, 2021.
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                                                EXHIBIT 1:
                                             Utility Service List


      Utility           Account          Notice Address       Service Provided   Average       Proposed
     Provider          Number(s)                                                 Monthly       Adequate
                                                                                  Utility      Assurance
                                                                                 Charges        Deposit
                                         P.O. Box 6463
      AT&T
                      824363593          Carol Stream IL         Telecom         $1,110           $511
     Mobility
                                          60197-6463
                     510499-100054
                     501439-100054
                     501440-100054
                     501441-100054
                     501444-100054
                                                                                              $6,675 (to be
                     501445-102114
    Norwich                                                                                   paid to NDPU
                     501627-100054      173 N Main St
    Dept. of                                                 Power/Water/Sewer   $6,675         directly by
                     528805-100054     Norwich CT 06360
  Public Utilities                                                                            agreement of
                     501637-100054
                                                                                               the parties)
                     501630-102114
                     501632-100054
                     501438-100054
                     501442-100054
                     501443-100054
                     860-425-0934-
                        071277-5
                                         PO Box 740407
                     860-456-3349-
     Frontier                             Cincinnati OH          Telecom          $207            $95
                        030698-5
                                           45274-0407
                     860-889-4455-
                        123179-5
                       901324858
                      8773-40-200-
                        1331004
                      8773-40-200-
                        1289673
                      8773-40-200-
                        0832945
                                           1701 JFK
                      8773-40-200-
                                          Boulevard
     Comcast            0000444                                   Internet       $3,230          $1,487
                                        Philadelphia PA
                      8773-40-200-
                                             19103
                        1066907
                      8773-40-200-
                        1075163
                      8773-40-200-
                        1075171
                      8773-40-200-
                        1289681
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                8773-40-200-
                  1289699
                8773-40-200-
                  1297551
                8773-40-200-
                  1297569
                8773-40-200-
                  1317276
                                    PO Box 900
    Saveway
                  438425           Danielson CT           Gas          $909        $418
   Petroleum
                                      06239
